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                      UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF CALIFORNIA




UNITED STATES OF AMERICA,                             Case No. 2:10-CR-00347-01-MCE

                     Plaintiff,
        v.                                            ORDER FOR RELEASE OF PERSON
                                                      IN CUSTODY
DISHAN PERERA,

                  Defendant.
______________________________/


TO: THE UNITED STATES MARSHAL SERVICE.

This is to authorize and direct you to release DISHAN PERERA, No. 2:10-CR-00347-01-MCE,
from custody for the following reasons:

___           Release on Personal Recognizance
___           Bail Posted in the Sum of $
___           Unsecured Appearance Bond
___           Appearance Bond with 10% Deposit
___           Appearance Bond with Surety
___           Corporate Surety Bail Bond
 X            Other: pursuant to the sentence of time served.



Issued at Sacramento, California on February 12, 2015 at 9:51 a.m.

DATED: February 12, 2015



                                               _______________________________________
                                               MORRISON C. ENGLAND, JR.
                                               UNITED STATES DISTRICT JUDGE
